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                                                                    JS-6
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8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10

11
      BRIGETTE SMITH, an individual,         )
12                                                  Case No. 5:15-cv-01509-RSWL-DTB
                                             )
                                             )
13    Plaintiff,                                    [PROPOSED]
                                                    XXXXXXXXXXXXX ORDER GRANTING
                                             )
14                                           )      STIPULATION RE: DISMISSAL OF
             vs.
                                             )      ENTIRE ACTION AND ALL
15
                                             )      PARTIES, WITH PREJUDICE
      WEST ASSET MANAGEMENT, and )
16
      DOES 1 through 10,                     )
17                                           )
      Defendant.                             )
18
                                             )
19                                           )
      ______________________________________ )
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23          The Court has reviewed the Stipulation of Plaintiff, BRIGETTE SMITH,
24    and Defendant, WEST ASSET MANAGEMENT, to dismiss with prejudice the
25    above-entitled action, in its entirety. Pursuant to the Joint Stipulation between
26    parties, the Court orders as follows:
27    ///
28




                                  [ORDER RE DISMISSAL 1
     Case 5:15-cv-01509-RSWL-DTB Document 8 Filed 10/09/15 Page 2 of 2 Page ID #:21



1           That the above-entitled lawsuit is hereby dismissed, with prejudice,
2
      pursuant to FRCP 41(a)(1)(A)(ii). Each party shall bear its own fees and costs.
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4
                                      IT IS SO ORDERED
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8     DATED: ____________
              10/9/2015                       ________________________________
                                               s/ RONALD S.W. LEW
                                              UNITED STATES DISTRICT JUDGE
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                                 [ORDER RE DISMISSAL 2
